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 7 Attorneys for the United States

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 9                                  UNITED STATES DISTRICT COURT
10                                         DISTRICT OF NEVADA
11 UNITED STATES OF AMERICA,                             )
                                                         )
12                  Plaintiff,                           )
                                                         ) 2:13-CR-450-APG-(GWF)
13           v.                                          )
                                                         )
14 ELEUTERIO TORRES, JR.,                                )
   SERGIO ESLI RIVERA,                                   )
15 JORGE MUNETON, and                                    )
   MIGUEL ANGEL HERNANDEZ,                               )
16                                                       )
              Defendants.                                )
17
      UNITED STATES OF AMERICA’S NOTICE THAT ITS INTERESTS AND RIGHTS
18  EXPIRED IN PROPERTY LISTED IN THE PRELIMINARY ORDER OF FORFEITURE
19           The United States respectfully notifies this Court that its interests and rights in the following

20 property expired pursuant to Title 21, United States Code, Section 853(h):

21                  $3,734 in United States Currency.

22          The United States does not have custody of the property listed in the Preliminary Orders of

23 Forfeiture (ECF Nos. 105, 108, 109, and 110) and set forth above.

24           Based on the foregoing, this Court should enter an order indicating (a) the United States’

25 interests and rights in the property listed in the Preliminary Orders of Forfeiture (ECF Nos. 105, 108,

26 / / /
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 1 109, and 110) and set forth above have expired; and (b) the Preliminary Orders of Forfeiture are

 2 reversed and are null and void as to the property set forth above.

 3          A proposed order is submitted with this Notice.

 4          Dated this 26th day of April, 2016.

 5                                                              DANIEL G. BOGDEN
                                                                United States Attorney
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 7                                                               /s/ Daniel D. Hollingsworth
                                                                DANIEL D. HOLLINGSWORTH
 8                                                              Assistant United States Attorney
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 1                                       PROOF OF SERVICE

 2         A copy of the foregoing was served upon counsel of record via Electronic Filing on April 26,

 3 2016.

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 5                                                             /s/ Mary Stolz
                                                              MARY STOLZ
 6                                                            FSA Paralegal
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 6                               UNITED STATES DISTRICT COURT
 7                                       DISTRICT OF NEVADA
 8 UNITED STATES OF AMERICA,                         )
                                                     )
 9                 Plaintiff,                        )
                                                     ) 2:13-CR-450-APG-(GWF)
10          v.                                       )
                                                     )
11 ELEUTERIO TORRES, JR.,                            )
   SERGIO ESLI RIVERA,                               )
12 JORGE MUNETON, and                                )
   MIGUEL ANGEL HERNANDEZ,                           )
13                                                   )
              Defendants.                            )
14

15                                                 ORDER
16          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United States of

17 America’s interests and rights expired in:

18           $3,734 in United States Currency (property).

19           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Preliminary Orders

20 of Forfeiture (ECF No. 105, 108, 109, and 110) entered in this case are null and void.

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                                                          __________________________________
25                                                        UNITED STATES DISTRICT JUDGE
26                                                                 May 12, 2016
                                                          DATED: __________________________




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